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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS



ASHTON ORR, et al.,
                                           Case No. 1:25-cv-10313-JEK
                           Plaintiffs,
                v.                         (Leave to file granted on May 27, 2025)

DONALD J. TRUMP, et al.,

                           Defendants.



                      PLAINTIFFS’ SUPPLEMENTAL BRIEF
                       REGARDING CLASS DEFINITIONS
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I.        INTRODUCTION

          Plaintiffs appreciate the Court’s consideration of their Motion for Class Certification and

the Court’s work in crafting proposed revised class definitions. Plaintiffs generally agree with the

Court’s proposed revised definitions (ECF 104) and wish to raise two discrete issues to ensure

complete relief is accorded to all those with viable claims.

          First, Plaintiffs propose minor modifications to the Court’s proposed definitions to make

clear that all transgender, nonbinary, and intersex people receive relief to which they are entitled.

          Second, Plaintiffs seek to ensure that class members are not unnecessarily or unduly

burdened in applying to receive passports under an injunction based on these definitions.

Accordingly, Plaintiffs maintain that reverting to the status quo ante—the policy in effect before

the Passport Policy—is the most straightforward way to achieve relief for the Classes consistent

with the Court’s PI Order (ECF 74), prevents forced disclosure of sensitive information to

Defendants for class members to get relief, and is consistent with Rule 23 and principles of equity.

If, however, the Court is inclined to impose a requirement to determine whether passport applicants

fall within the Court’s proposed class definitions, Plaintiffs request that it be as minimally

burdensome on class members as possible through use of a plain-language “checkbox.”

II.       CLASS DEFINITIONS

          Plaintiffs largely agree with the Court’s proposed revised class definitions and believe they

satisfy Rule 23 for the same reasons identified in Plaintiffs’ prior briefing. Plaintiffs propose a

discrete modification to each definition (with deletions struck and additions emphasized):

      •   M/F Designation Class: A class of all people (1) who are transgender whose gender
          identity is different from the sex assigned to them under the Passport Policy and/or who
          have been diagnosed with gender dysphoria, and (2) who have applied, or who, but for the
          Passport Policy, would apply, for a U.S. passport issued with an “M” or “F” sex designation
          that is different from the sex assigned to that individual under the Passport Policy.




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   •   X Designation Class: A class of all non-binary, transgender, and/or intersex people,
       and/or people who were not assigned a binary sex at birth, who have applied, or who, but
       for the Passport Policy, would apply, for a U.S. passport with an “X” designation.

       For the M/F Designation Class, Plaintiffs’ modification provides clarity for laypeople

attempting to determine their rights in a nuanced area. The record reflects that “transgender”

means those whose gender identity is different than their sex assigned at birth (including if they

are nonbinary and were assigned a binary sex, or are intersex and were assigned a binary sex

different from their gender identity). See Corathers Decl. (ECF 78-13) ¶¶ 49–50. But that is not

always the lay understanding of the term, and different people (including class members) may have

different understandings. Some nonbinary and intersex people do not identify as “transgender” in

their everyday lives, id., and would therefore be at risk of not receiving relief under the Court’s

proposed definition if they incorrectly believed they were not members of the M/F Designation

Class. This modification is not intended to differ in substance from the Court’s proposal.

       For the X Designation Class, Plaintiffs’ requested modification clarifies that transgender

and intersex people are entitled to relief as part of that Class (as they would be under Plaintiffs’

original definition). For many intersex people, for instance, the Passport Policy will either assign

them a sex with which they do not identify (e.g., because it is marked on their birth certificate

based on examination of external genitalia) or perhaps not assign them a sex at all (e.g., because

no sex was marked on their birth certificate). At the same time, neither “M” nor “F” may fully or

accurately reflect their gender identity. As a result, “X” may best reflect who they are. They have

equal protection and APA claims (and all other claims) that are as viable as any other class member,

and the reasoning of the Court’s PI Order applies equally to them. Relatedly, Plaintiffs propose

adding “people who were not assigned a binary sex at birth,” regardless of how they currently

identify to ensure that all individuals without birth-assigned binary sex markers will receive relief.




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       Even for transgender and intersex people who do identify as male or female, being forced

to use an “M” or “F” on a passport if they do not want to still subjects them to an unconstitutional

sex classification that is unnecessary in light of the “X” option. See PI Order at 17–21. And being

forced to disclose that “M” or “F” gender identity every time they use their passport burdens their

right to travel and right to informational privacy. See ECF 30 at 20–26. As a result, being able to

use an “X” marker provides them equal protection and safeguards other constitutional rights.

Plaintiffs do not interpret the Court’s PI Order to say otherwise. See PI Order at 19–20. 1

III.   IMPLEMENTATION

       Plaintiffs also seek to ensure that, if the Court enters its proposed class definitions or those

requested by Plaintiffs here, implementing those class definitions avoids burdening class members

as much as possible. See Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 15 (1971)

(“Once a right and a violation have been shown, the scope of a district court’s equitable powers to

remedy past wrongs is broad, for breadth and flexibility are inherent in equitable remedies.”).

       The most efficient approach is to revert to the Government’s passport sex marker policies

that existed before the Passport Policy and that the State Department utilized without problems for

years. That option comes with important benefits. It is non-burdensome on class members because

they are required only to apply for passports in the ordinary course and select their correct sex

marker. It requires no additional process by Defendants, obviating any arguable burden. And it

ensures that no one is forced to “out” themselves to the Government by disclosing that they are

transgender, nonbinary, intersex, or have a gender dysphoria diagnosis to get relief. On this last



1
  To the extent the Court’s proposed revised definition was based on the lack of a named plaintiff
who is intersex or transgender and wants an “X” marker, no such named plaintiff is needed to
satisfy Rule 23: the claims of the X Class representatives satisfy typicality for any person for whom
a binary marker is inappropriate or whose rights would be violated by forcing them to use a binary
marker, ECF 78 at 10–19, and Defendants have not argued otherwise, ECF 95 at 1.


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point, forcing disclosure of such sensitive information from class members will in itself create new

and considerable privacy concerns on top of the privacy concerns on which Plaintiffs’ claims are

based. These concerns are compounded because Defendants’ actions here were motivated by

unlawful animus against class members. See PI Order at 26–32.

       At the May 27 hearing, the Court considered whether an injunction like this could be

slightly overbroad in that a person who is cisgender, binary, and non-intersex could theoretically

select a sex marker that did not align with their gender identity or an “X.” That possibility does

not conflict with Rule 23, violate principles of equity, or undermine this remedial approach.

       As for Rule 23, there is no dispute that the overwhelming majority of those benefited by

the injunction will be class members with full sets of claims: the record reflects legitimate reasons

that transgender, nonbinary, and intersex people would seek these sex markers, see ECF 30; no

reason that others would do so in meaningful numbers; and no evidence that this was an issue in

practice under the prior policy. And if certification is warranted, as here, it cannot be defeated by

“speculative or hypothetical” concerns. In re Nexium Antitrust Litig., 777 F.3d 9, 21 (1st Cir.

2015). Further, neither Rule 23(a) nor Rule 23(b)(2) demand complete overlap of claims across

the class or between representatives and class members. ECF 78 at 9–19; DG ex rel. Stricklin v.

Devaughn, 594 F.3d 1188, 1198 (10th Cir. 2010) (upholding (b)(2) certification and explaining

that a “class will often include persons who have not been injured by the defendant’s conduct [and

that] possibility or indeed inevitability does not preclude class certification” (cleaned up)). 2

       As for equity, the Court has explained that Plaintiffs’ request to revert to the status quo

before the Passport Policy is a “prototypical example of an injunction.” PI Order at 53. There is



2
 As noted at the hearing, the individual in this hypothetical could still have viable claims: an APA
claim (they are subject to an arbitrary and capricious policy) and privacy claim (they are forced to
reveal their sex assigned at birth when they use their passport without sufficient justification).


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nothing unusual or improper about injunctions having “incidental benefit[s]” for individuals other

than the plaintiffs. Hodges v. Comcast Cable Commc’ns, 21 F.4th 535, 546 (9th Cir. 2021). Even

if the rare individual in the Court’s hypothetical sought the benefits of the injunction, that incidental

benefit is no reason to narrow the scope of relief in a way that prejudices all class members. E.g.,

Cachil Dehe Band of Wintun Indians of Colusa Indian Cmty. v. California, 618 F.3d 1066, 1083

(9th Cir. 2010) (“An injunction is not necessarily made overbroad by extending benefit or

protection to persons other than the prevailing parties . . . if such breadth is necessary to give

prevailing parties the relief to which they are entitled.” (cleaned up)); Trump v. Hawaii, 585 U.S.

667, 717 (2018) (Thomas, J., concurring) (“injunctions [may properly] advantage[] nonparties”

when the “benefit was merely incidental,” such as “[i]njunctions barring public nuisances”).

        That said, if the Court is inclined to impose further process to implement its new class

definitions, the Court should exercise its discretion in crafting relief, see Swann, 402 U.S. at 15, to

require no more than a simple “checkbox” accompanying the process of applying for a passport

that describes in plain and understandable terms who qualifies as a member of the Classes and asks

individuals to check the box if they are in the Classes (and not be required to do more, such as

submitting medical documentation). 3 See, e.g., Missouri v. Trump, 128 F.4th 979, 997 (8th Cir.

2025) (crafting terms of injunction to avoid “chaos and uncertainty” for plaintiffs). Doing so best

vindicates class members’ rights by avoiding imposition of unnecessary barriers to relief and

reducing (though not eliminating) the concerns discussed above of forcing people to out

themselves as transgender, nonbinary, and/or intersex to the Government to receive relief.



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  Plaintiffs propose: “If I am selecting a sex that is different than the sex on my original birth
certificate, or if I am selecting an “X” sex marker, I confirm that at least one of the following is
true: (1) I identify as transgender, nonbinary, and/or intersex; (2) I have been diagnosed with
gender dysphoria; or (3) my original birth certificate does not reflect a sex (because, for example,
the sex marker is blank or is an “X”).”


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                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2025, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to counsel of record.

                                                           /s/ Isaac D. Chaput
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